    Case: 1:23-cv-16970 Document #: 46 Filed: 08/24/24 Page 1 of 2 PageID #:477




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Cuauhtemoc Hernandez,                            )
                                                  )
                                 Plaintiff,       )          Case No. 23-cv-16970
                                                  )
                 v.                               )          Honorable Sunil R. Harjani
                                                  )
 Thomas Dart, Sheriff of Cook County,             )
 and Cook County, Illinois,                       )
                                                  )
                                 Defendants.      )

      DEFENDANTS’ UNOPPOSED MOTION FOR ENTRY OF AGREED ORDER

        NOW COME Defendants COOK COUNTY SHERIFF THOMAS DART, and COOK

COUNTY, a body politic and corporate, by and through their attorneys, Jason E. DeVore and

Zachary G. Stillman, of DeVore Radunsky LLC, and respectfully move the Court, pursuant to Fed.

R. Civ. P. 26 and Fed. R. Civ. P. 30, for entry of the attached Agreed Order Regarding In-Person

Depositions at Cook County Department of Corrections (Attached as Exhibit A, as well as

submitted to the Court via e-mail at Proposed_Order_Harjani@ilnd.uscourts.gov) outlining the

items counsels may bring to the in-person depositions of three individuals currently detained at the

Cook County Department of Corrections (“CCDOC”).

        The parties have met and conferred regarding in-person depositions of Quovotis Harris,

Raasikh Phillips, and Sylvester Brinson, and have already agreed that the depositions will occur

on August 27, 2024, beginning at 1:00 p.m. The parties are required to abide by CCDOC rules and

regulations, which permit visitors to bring only preapproved items into the facility with them. The

parties conferred on August 23 regarding the content of the agreed order and have agreed to entry

of the attached Proposed Agreed Order Regarding In-Person Depositions and therefore

respectfully request that the Court enter it in this case.



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    Case: 1:23-cv-16970 Document #: 46 Filed: 08/24/24 Page 2 of 2 PageID #:478




       WHEREFORE, the parties respectfully request that this Honorable Court:

       i.     Enter the proposed Agreed Order Regarding In-Person Depositions at CCDOC; and

       ii.    Any other such relief as this Court deems reasonable and just.



                                                    Respectfully submitted,

                                                    By: /s/ Zachary G. Stillman
                                                    Zachary G. Stillman,
                                                    One of the Attorneys for Defendants
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                               CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that this Defendants’ Unopposed Motion for
Entry of Agreed Order was filed on August 24, 2024, with the Northern District of Illinois ECF
System, serving a copy to all parties.

                                                     /s/ Zachary G. Stillman
                                                     Zachary G. Stillman




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